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Customer Agreement
     investvoyager.com/useragreement


Updated January 7, 2022

In consideration of Voyager Digital, LLC, and its agents and assigns, which includes affiliated
entities, (“Voyager”) opening an account (the “Account”) on your (“Customer”) behalf,
Customer represents and agrees to the terms and conditions set forth below (the
“Customer Agreement”). For the avoidance of doubt, this Customer Agreement governs the
relationship between Customer and Voyager exclusively as it relates to the services provided
by Voyager as described herein. Any other services, now or in the future, provided by an
affiliate of Voyager, whether in connection with the Account, or otherwise, unless specifically
identified herein shall not be governed by this Customer Agreement. Customer understands
that the Voyager trading platform (the “Platform”) is operated by Voyager, together with
certain of its affiliates (each, an “Affiliate” and together, the “Affiliates”), and may be accessed
via website (the “Website”) and mobile application (the “App”).

CUSTOMER UNDERSTANDS THAT THE TERMS AND CONDITIONS OF THIS
CUSTOMER AGREEMENT GOVERN ALL ASPECTS OF RELATIONSHIP WITH
VOYAGER REGARDING CUSTOMER’S ACCOUNT. THE CUSTOMER WILL
CAREFULLY READ, UNDERSTAND AND ACCEPT THE TERMS AND
CONDITIONS OF THIS CUSTOMER AGREEMENT BEFORE CHECKING THE
BOX AND CLICKING CONTINUE UNDER “BY CREATING AN ACCOUNT, YOU
AGREE TO OUR TERMS” (WHICH ARE AVAILABLE BY CLICKING ON
“TERMS” LINK (OR SIMILAR LINK). IF THE CUSTOMER HAS ANY
QUESTIONS ABOUT ANY OF THE PROVISIONS IN THIS CUSTOMER
AGREEMENT, THE CUSTOMER MAY EMAIL
SUPPORT@INVESTVOYAGER.COM. THE CUSTOMER UNDERSTANDS THAT
CLICKING CONTINUE UNDER “BY CREATING AN ACCOUNT, YOU AGREE TO
OUR TERMS” IS THE LEGAL EQUIVALENT OF MANUALLY SIGNING THIS
CUSTOMER AGREEMENT AND THE CUSTOMER WILL BE LEGALLY BOUND
BY ITS TERMS AND CONDITIONS. BY ENTERING INTO THIS CUSTOMER
AGREEMENT, THE CUSTOMER ACKNOWLEDGES RECEIPT OF THE
VOYAGER PRIVACY POLICY.

THE TRADING OF CRYPTOCURRENCY INVOLVES SIGNIFICANT RISK. BY ENTERING
INTO THIS CUSTOMER AGREEMENT, THE CUSTOMER ACKNOWLEDGES RECEIPT OF
THE VOYAGER RISK DISCLOSURE STATEMENT.

1.     Acceptance of Terms and Conditions



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By using the Platform, Customer agrees to follow and be bound by this Customer Agreement,
including, without limitation, the policies referenced herein. If Customer does not agree to be
bound by the terms of this Customer Agreement, Customer should not access the Platform.
Customer further understands that Voyager has the right to change and modify the terms
and conditions of the Customer Agreement at any time in Voyager’s sole discretion. If
Voyager materially updates, modifies, or revises the Customer Agreement, Voyager will, at its
discretion, post a revised copy of the Customer Agreement on the Website, or make it
available through the App, as further detailed in Section 33 - Miscellaneous. Other than
as may be required pursuant to applicable law, Voyager shall have full discretion to
determine when and how Voyager notifies Customer of changes to the Customer Agreement.
All changes will be effective immediately. Customer understands that by continuing to use
the Platform, accessing the Account, or utilizing the Services (as defined below) constitutes
an act of acceptance with respect to any such changes.

2.   Capacity and Status; Eligibility

The Customer represents and warrants that Customer is of legal age under the laws of the
state where the Customer resides and is authorized to enter into the Customer Agreement.
Voyager reserves the right to assess or reassess at any time Customer’s eligibility to maintain
an Account and utilize the Platform. Without limiting the foregoing, by accessing the
Platform and utilizing the Services, Customer acknowledges and understands that laws
regarding financial instruments, which sometimes include Cryptocurrency (as defined
below), may vary from state to state, and it is Customer’s obligation alone to ensure that
Customer fully complies with any law, regulation or directive, relevant to Customer’s state of
residency with regard to the use of the Platform and the Services. For the avoidance of doubt,
the ability to open an Account and access the Platform does not necessarily mean that
Customer’s activities in connection therewith are legal under the laws, regulations or
directives relevant to the Customer’s state of residency. “Cryptocurrency” means any digital
asset or digital currency that is available for trading or custody through the Services.

3.   U.S. Residents Only

The Information (as defined below), Platform, and associated Services are intended for U.S.
residents only. They shall not be considered a solicitation to any person in any jurisdiction
where such solicitation would be illegal. The products and services described on the Website
and available through the Platform are offered only in jurisdictions where they may be legally
offered. Neither the Website nor the App shall be considered a solicitation for, or offering of,
any investment product or service to any person in any jurisdiction where such solicitation or
offering would be illegal. Customer understands that Voyager, at Voyager’s sole discretion,
may accept unsolicited accounts from non-U.S. residents, depending on the country of
residence and other factors.

4.   Account Opening; Applicable Laws and Regulations


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To help the U.S. government better detect the funding of terrorism and money laundering
activities, federal law requires all financial institutions to obtain, verify, and record
information that identifies each person who opens an Account. Customer understands that
when the Customer opens an Account that Voyager will ask for the Customer’s name,
address, date of birth and other identifying information. Voyager may also ask for copies of
the Customer’s driver's license, passport or other identifying documents. The Customer
understands that Voyager will take steps to verify the accuracy of the information the
Customer provides to Voyager in connection with an Account opening. These verification
procedures may, in Voyager’s sole discretion, require that Customer verify certain
information provided to Voyager or provide additional documentation to Voyager, including
but not limited to providing bank statements, social security number verification, bank
account ownership verification, or liveness checks. Voyager will not open an Account or may
restrict Customer’s access to the Account and the Services at any time and in Voyager’s sole
discretion, but in any event until such time as all verification procedures have been
completed to Voyager’s satisfaction.

The Customer further understands that if the Customer attempts to access the Account from
a jurisdiction subject to certain U.S. sanctions or if the Customer is ordinarily resident in
such a jurisdiction, or if Voyager reasonably believes that the Customer is attempting such
access or has become a resident in such a jurisdiction, Voyager may restrict the Account, and
any pending orders may be cancelled. If this happens, the Customer understands that the
Customer should contact support@investvoyager.com, and that the Customer may be asked
to provide supplemental information as part of this process. The Customer further
understands that the Customer must close all Accounts before establishing residency in any
jurisdiction subject to U.S. sanctions.

5.   Account Funding; Regulatory Treatment

(A) Customer Cash. Customer understands and acknowledges that Customer may arrange to
deposit United States Dollars (“USD” or “Cash”) into the Account. Cash deposited into the
Customer’s Account is maintained in an omnibus account at Metropolitan Commercial Bank
(the “Bank”), which is a member of the Federal Deposit Insurance Corporation (“FDIC”).
Voyager maintains an agreement with the Bank whereby the Bank provides all services
associated with the movement of and holding of USD in connection with the provision of
each Account. Therefore, each Customer is a customer of the Bank. All U.S. regulatory
obligations associated with the movement of, and holding of, USD in connection with each
Account are the responsibility of the Bank. For purposes of clarity, any services pertaining to
the movement of, and holding of, USD are not provided by Voyager or its Affiliates. Cash in
the Account is insured up to $250,000 per depositor by the FDIC in the event the Bank fails
if specific insurance deposit requirements are met. FDIC insurance does not protect against
the failure of Voyager or any Custodian (as defined below) or malfeasance by any Voyager or




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Custodian employee. Voyager is not a member of the Financial Industry Regulatory
Authority, Inc. (“FINRA”) or the Securities Investor Protection Corporation (“SIPC”), and
therefore Cash is not SIPC-protected.

(B) Customer Cryptocurrency Deposits. When Customer initiates a Cryptocurrency deposit
(a “Cryptocurrency Deposit”) into the Customer’s Account, Customer is solely responsible for
executing the Cryptocurrency Deposit properly and accurately. Voyager is not responsible for
any Cryptocurrency until such time as such Cryptocurrency is successfully deposited into the
relevant wallet address provided by Voyager to Customer as evidenced by such deposit
appearing on the relevant block explorer for such deposit. Voyager is not responsible for any
delays, losses or fees in connection with a Cryptocurrency Deposit and is not obligated to
assist or support Customer in any fashion with respect to an unsuccessful Cryptocurrency
Deposit or with respect to any issues that Customer may experience at a point in time prior to
the successful completion of a Cryptocurrency Deposit; provided, however, that Voyager
may, in its sole discretion, provide reasonable assistance to Customer in the event that a
Customer requests assistance in connection with an attempted, failed, erroneous, or
otherwise incomplete Cryptocurrency Deposit, including but not limited to, those deposits
sent by Customer to a Cryptocurrency wallet designated by Voyager for a different type of
Cryptocurrency than the Cryptocurrency being sent by Customer, whether or not such
deposit is evidenced on the blockchain. Voyager does not guarantee that any such assistance
will result in the successful completion or remediation of a Cryptocurrency Deposit or the
recovery of any Cryptocurrency. Furthermore, subject to Voyager’s sole discretion, Voyager
may charge reasonable fees in connection with any such assistance upon recovery of
Customer assets to Customer Account. Customer understands that a Cryptocurrency Deposit
cannot be reversed once properly initiated.

(C) Customer Cryptocurrency. Customer authorizes and instructs Voyager to hold
Customer’s Cryptocurrency (whether purchased on the Platform or deposited by Customer
into the Account pursuant to the Cryptocurrency Deposit mechanics outlined above) on its
behalf. Customer understands that Voyager may hold Customer’s Cryptocurrency together
with the Cryptocurrency of other Voyager customers in omnibus accounts or wallets. In
addition, Customer understands and authorizes Voyager to delegate some or all custody
functions to one or more Affiliates or third parties (which may include, but not be limited to
exchanges and custodians) at Voyager’s discretion (each a “Custodian”). Some or all custody
functions provided by a Custodian may be performed, supported, or conducted in foreign
jurisdictions, or conducted by Custodians domiciled, registered, or subject to the laws and
regulations of foreign jurisdictions. Voyager will exercise reasonable skill and care in the
selection, appointment, and periodic review of any such Custodian. Voyager will maintain
true, complete and accurate records relating to Customer Cryptocurrency. Customer and
Voyager understand that the legal treatment of Cryptocurrency is unsettled and disparate
across different jurisdictions. In the event that Customer, Voyager or a Custodian become
subject to an insolvency proceeding it is unclear how Customer Cryptocurrency would be


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treated and what rights Customer would have to such Cryptocurrency. How an insolvency
court would categorize and treat Customer Cryptocurrency is a highly fact-dependent inquiry
that necessarily depends upon the circumstances of each individual case. In addition, within
the U.S. there is notably little case law addressing insolvency proceedings involving
Cryptocurrency. As such, the law governing the likely treatment of Customer Cryptocurrency
in the event of a Customer, Voyager or Custodian insolvency proceeding remains largely
unsettled. Voyager does not make any representation as to the likely treatment of Customer
Cryptocurrency in the event of a Customer, Voyager, or Custodian insolvency proceeding
whether in the U.S. or in any other jurisdiction. Customer explicitly understands and
acknowledges that the treatment of Customer Cryptocurrency in the event of a Customer,
Voyager, or Custodian insolvency proceeding is unsettled, not guaranteed, and may result in
a number of outcomes that are impossible to predict, including but not limited to Customer
being treated as an unsecured creditor and/or the total loss of all Customer Cryptocurrency.

(D) Consent to Rehypothecate. Customer grants Voyager the right, subject to applicable law,
without further notice to Customer, to hold Cryptocurrency held in Customer’s Account in
Voyager’s name or in another name, and to pledge, repledge, hypothecate, rehypothecate,
sell, lend, stake, arrange for staking, or otherwise transfer or use any amount of such
Cryptocurrency, separately or together with other property, with all attendant rights of
ownership, and for any period of time and without retaining a like amount of
Cryptocurrency, and to use or invest such Cryptocurrency at Customer’s sole risk.

6.   Voyager Services

The Account is self-directed. The services offered by Voyager pursuant to this Customer
Agreement include, but are not limited to (a) the ability to place various types of orders
through the Platform with respect to Cryptocurrency, (b) participation in the Rewards
Program (as defined below), and (c) such other programs, features, or services as Voyager
may make available to Customer through the Platform from time to time (collectively,
the “Services”).

Customer appoints Voyager as Customer’s agent for the purposes of (a) supporting
Customer’s activities with respect to the Services, (b) carrying out Customer’s instructions to
Voyager in accordance with the terms and conditions of this Customer Agreement, and (c)
taking any action that Voyager reasonably and in good faith deems necessary or advisable to
accomplish the purposes of this Customer Agreement.

Customer understands and acknowledges that Voyager is authorized at all times to place,
withdraw, modify, suspend, cancel, terminate, or alter, in any fashion orders and
transactions placed by Customer through the Platform, as well as take any and all other
actions that Voyager deems appropriate or necessary in order to carry out
Customer instructions.



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7. Orders

(A) Overview. Customer may place market orders through the Account in either USD
amounts or in Cryptocurrency amounts. In addition to market orders, Customer may also
place limit orders. A limit order may be “good till canceled” which means the order remains
valid until (A) it is executed, or (B) Customer cancels the order. Customer understands that
limit orders may not be executed at any particular time, or at all, if there is not sufficient
trading at or better than the limit price that Customer specifies, and are good until Customer
cancels them; provided, however, that Voyager has the right, in its sole discretion, to cancel
any limit order, whether “good till canceled” or otherwise, that remains unexecuted for sixty
(60) calendar days or if deemed a risk by Voyager. Customer understands that additional
transaction and order types may be made available to Customer on the Platform from time to
time as determined by Voyager in Voyager’s sole discretion.

(B) Sufficient Funds. To execute a purchase order for Cryptocurrency, Voyager requires that
Customer’s Account contain available funds equal to, but in most cases, greater than the
purchase price of the Cryptocurrency plus any associated fees or commissions and that all
payments for the purchase be made without set-off, counterclaim or deduction. Customer
agrees that any purchase order accepted by Voyager (inadvertently or otherwise) without
sufficient funds or Cryptocurrency in Customer’s Account will be subject to liquidation at
Customer’s expense.

(C) No Liability for Failure to Settle. Customer understands and agrees that Voyager is not
responsible for any delay in the settlement of a transaction resulting from circumstances
beyond Voyager’s reasonable control, or the failure of any other person or party (including
Customer) to perform all necessary steps to enable the completion of a transaction.

(D) Refusal to Allow USD Withdrawals. Voyager may refuse to allow a USD withdrawal from
Customer’s Account, when it deems it appropriate or necessary, in its sole discretion,
including in the following instances: (1) Voyager believes that such refusal is necessary in
order for Voyager to comply with its anti-money laundering compliance obligations, (2) the
withdrawal would leave insufficient funds in the Account to pay for any unsettled
transactions, (3) the amount of such withdrawal is equal to or greater than the sum of all
USD deposits made into the Account within the immediately preceding sixty (60) days, or (4)
the account ownership, naming convention, or other details associated with the withdrawal
account, do not match the Account. Where Customer makes a deposit into the Account and
effectuates one or more transactions thereafter, subsequent withdrawal requests may be
subject to delays, holds, or limits, as determined by Voyager in its sole discretion.

(E) Discretion to Decline Execution of or Cancel Orders. Voyager may, in its sole discretion,
decline the execution of any order for any reason, including, but not limited to, the size of an
order, market conditions, Customer breach of this Customer Agreement, actual, potential, or
apparent violation of any applicable laws, rules or regulations, insufficient or inadequate


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funds in the Account (including all commission, charges, taxes and any amount in addition to
the price of the Cryptocurrency that Voyager reasonably considers may be necessary), or any
other appropriate risk considerations. If Voyager accepts an order and then an event takes
place which means that it is no longer reasonable for Voyager, in its sole determination, to
act on that order, Voyager will be entitled to disregard or cancel Customer’s order and
Voyager shall not have any liability to Customer as a result of such action. Voyager further
reserves the right not to execute orders for Cryptocurrency or to close any open positions
therein without any further notice to Customer, in the following circumstances: (a) Customer
order violates any applicable laws, rules, regulations, or appears intended to defraud or
manipulate the market; (b) the existence of abnormal market conditions or a significant
disruption in, or premature close of, trading in or of the underlying Cryptocurrency or the
market or an exchange on which the underlying Cryptocurrency is traded; (c) Force Majeure
(as defined in Section 15 - Information), or action by an exchange, regulatory or
governmental authority that disrupts trading in the relevant security; or (d) Voyager is
unable to obtain satisfactory liquidity in order to satisfy the order.

(F) Trade Receipts. Voyager will prepare receipts outlining the details of orders and the
corresponding transactions effected by a Customer through the Platform, in form and format
as required pursuant to applicable law, rule or regulation (each, a “Trade Receipt”). Voyager
will deliver and make available Trade Receipts to Customer electronically, through the App,
or otherwise, in Voyager’s sole discretion.

(G) Cancellations. Customer agrees that it is Customer’s responsibility to review order
execution confirmations and statements promptly upon receipt. Notwithstanding any other
provision in this Agreement, Trade Receipts will be considered binding on Customer unless
Customer notifies Voyager of any objections within two (2) hours from the time Trade
Receipts are delivered. Customer understands that any objection that Voyager receives from
Customer consistent with the immediately preceding sentence is simply a request that
Voyager attempt to cancel or modify an order. Voyager is not liable to Customer if Voyager is
unable to cancel or modify an order. Customer understands and agrees that, if an order
cannot be cancelled or modified, Customer is bound by any execution of the original order,
even if Customer’s objection to the transaction is ultimately determined to be valid.

(H) No Guarantee Order Will be Filled. There is no guarantee that an order will be filled. An
Order may fail to be filled or Voyager may, in its sole discretion, refuse to execute an order
for any reason, including: (1) due to the failure, misuse, degradation, corruption, downtime,
or unavailability of any Voyager or third party trading, communication or operations
systems, (2) market volatility, (3) the existence, detection, or suspicion of unusual market,
trading, or order activity, or (4) the existence, detection, or suspicion of fraud or any other
activity that presents, or potentially presents to Voyager, in Voyager’s sole discretion, any
commercial, economic, or reputational risk. Where a delay in fulfilling an order occurs for
any reason, Voyager will attempt to execute the order as soon as reasonably practicable;
provided that Voyager reserves the right to cancel a delayed order in the event of a material

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price fluctuation or for any other reason in accordance with this Customer Agreement.
Voyager will not be liable or have any responsibility for any Losses (as defined below)
suffered by Customer in connection with an order that is not filled or is erroneously filled.

(I) Aggregation of Orders. Customer understands and acknowledges that Voyager may, in
its sole discretion, aggregate Customer orders with the orders of other customers (a “Batched
Order”). In such instances, a Customer order may not be placed or executed on a real-time
basis, but rather batched with one or more orders from other Voyager customers. The price
of a particular Cryptocurrency may be higher or lower at the time of execution of a Batched
Order as compared to the time at which the Customer’s original order was placed. A Batched
Order may only partially fill, in which case some or part of the order is executed. In the event
of a partial fill, Voyager will allocate the purchased Cryptocurrency or proceeds among the
participating Customers in the Batched Order in a pro-rata fashion. A Batched Order may
become fully executed through one or more partial fills, in which case the price of the
relevant Cryptocurrency or amount of proceeds may change, or, for a variety of reasons, a
Batched Order may only ever be executed partially. Voyager will not be liable or have any
responsibility for any Losses suffered by Customer in connection with or as a result of a
Customer order being included in a Batched Order.

(J) Market Volatility. In the event of a market disruption or Force Majeure, Voyager may do
one or more of the following: (a) suspend access to the Account; (b) prevent Customer from
completing any and all actions via the Services, including closing any open positions in the
Account; or (c) cease to follow any Customer instructions. Following any such event, when
trading resumes, Customer acknowledges that prevailing market rates may differ
significantly from the rates available prior to such event.

(K) Suspension. If at any time any exchange, trading venue, or market suspends trading in
any Cryptocurrency that forms the subject of a Customer order, then the applicable order
may be suspended. In addition, Customer may not be able to sell any Cryptocurrency that
Voyager holds on Customer’s behalf or effectuate Withdrawals (defined in Section 8 –
Cryptocurrency Withdrawals below) or USD withdrawals until such suspension is
terminated and trading recommences. Following the lifting of a suspension, outstanding
orders with respect to the affected Cryptocurrency will be executed as and when Voyager is
reasonably able to do so. Voyager cannot guarantee the price at which such orders
will execute.

(L) Delisting or Non-Supported Cryptocurrency. Voyager, at all times and in its sole and
absolute discretion, determines the Cryptocurrencies available on the Platform. Voyager
may, at any time and in its sole and absolute discretion, (i) remove or restrict the trading of a
particular Cryptocurrency on the Platform, either completely or limit such removal or
restriction to a particular jurisdiction, and (ii) determine the time and date on which trading
should cease or be restricted. Customers shall generally receive not less than 30 days’ notice,
which notice shall be posted in the App, (see Section 23 – Consent to Electronic

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Delivery of Documents) regarding any such actions, unless Voyager determines in its sole
and absolute discretion that immediate removal or restriction of such Cryptocurrency is
appropriate and/or necessary due to legal, regulatory, compliance, reputational or similar
concerns. If at any time any Cryptocurrency that forms the subject of a Customer order is
delisted or Voyager no longer supports the trading in such Cryptocurrency for any reason,
then the applicable order will be immediately closed. If Voyager is notified that a
Cryptocurrency in Customer’s Account is likely to be delisted or removed or canceled from
one or more exchanges or trading venues, and Voyager reasonably believes that trading in
the Cryptocurrency will be materially affected by such delisting, removal or cancellation, then
Customer authorizes Voyager to attempt to sell the Cryptocurrency on Customer’s behalf at
such time and price, and in such manner, as Voyager may determine in its sole discretion (a
“Delisting Sale”). Customer understands and agrees that Voyager is not obligated to engage
in a Delisting Sale and will not be liable for any loss sustained by Customer during Voyager’s
attempt to execute a Delisting Sale.

(M) Position Limits. Customer understands and acknowledges that Voyager may impose
trading and/or position or volume limits on Customer’s Account (“Limits”). Limits are
subject to change at any time in Voyager’s sole discretion. In the event that Customer
attempts to place an order or effect a transaction that would result in the breach of a
particular Limit, Voyager may, in its sole discretion, refuse to act upon such instructions.
Customers may request details regarding Limits by contacting Voyager
at support@investvoyager.com.

(N) No Leverage. Customer understands that Voyager does not offer leverage as part of the
Services. For the avoidance of doubt each purchase of Cryptocurrency must be fully funded.

8.   Cryptocurrency Withdrawals

Customer may arrange to withdraw and transfer Cryptocurrency in the Account to an
external wallet (such process, a “Withdrawal”). Voyager will effectuate a Withdrawal based
upon Customer’s written instructions; provided that Customer understands and agrees that
Voyager may, in its sole discretion, delay, modify or prohibit, in whole or in part, any
requested Withdrawal, including in instances where: (a) Voyager believes such action is
prudent in order to satisfy Voyager’s anti-money laundering obligations, (b) Voyager
suspects that the Customer, the wallet address, or the Withdrawal itself are connected to,
associated with, or being used in furtherance of potential fraud, (c) Customer is in violation
of the Customer Agreement, (d) the Withdrawal is being attempted within sixty (60) days of
a deposit of USD or Cryptocurrency into the Account, or (e) outstanding fees are associated
with the Account or the Account would, after the Withdrawal, have an insufficient balance to
cover actual or anticipated fees. Customer understands that, once initiated on the network
associated with the Cryptocurrency subject to the Withdrawal, a Withdrawal will typically be
processed at the speed of such network, but that in certain situations, a Withdrawal may be
delayed in connection with any latency, congestion, disruption, or other delay of such

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network. Customer understands that Voyager cannot reverse a Withdrawal that has been
broadcast to a Cryptocurrency network. Customer also understands that Voyager reserves the
right to cancel any pending Withdrawal as required by law or in response to a subpoena,
court order, or other binding government order.

Customer understands that Customer is exclusively responsible for ensuring that a
Withdrawal is being made to the correct or intended wallet address. Withdrawals cannot be
reversed once broadcast to the relevant Cryptocurrency network. Voyager will not be liable
for any loss that results from inaccurate, incomplete, or misleading details that Customer
may provide in connection with a Withdrawal. Voyager will not bear any liability for any
failure, error or delay in processing a Withdrawal. Voyager may, in its sole discretion, provide
reasonable assistance to Customer in the event that a Customer requests reasonable
assistance in connection with an attempted, failed, or otherwise erroneous Withdrawal.
Voyager does not guarantee that any such assistance will result in the successful completion
or remediation of a Withdrawal or the recovery of any Cryptocurrency. Voyager may charge
fees in connection with any such assistance. Customer understands that a Withdrawal cannot
be reversed once properly initiated.

With respect to certain Cryptocurrencies on the Voyager Platform, the Services available to
Customer may only include the ability to purchase or sell Cryptocurrencies, and may not
permit the transfer or withdrawal of all or any part of the balance held in such
Cryptocurrencies (a “Non-Supported Transfer Cryptocurrency”). The Cryptocurrencies that
Voyager supports for transfer or withdrawal as part of the Services on the Platform may
change from time to time, in Voyager’s sole and absolute discretion. Customer acknowledges
and agrees that, unless Voyager supports the Cryptocurrency for withdrawal and transfer,
Customer will not be able to take possession of Cryptocurrencies. Accordingly, a Non-
Supported Transfer Cryptocurrency may not be withdrawn or transferred from Customer
Account to any wallet, address, storage device or the like, or exchange, brokerage, bank,
staking platform, custodian or the like. Subject to other limitations set forth herein,
Customer shall have the option to sell Customer’s Non-Supported Transfer Cryptocurrencies
on the Voyager Platform and withdraw all or any part of the balance (held in U.S. dollars)
from Customer Account.

9.   Cryptocurrency Networks; Forks; Aidrops.

(A) Voyager does not own or control the underlying software protocols which govern the
operation of a Cryptocurrency available for trading on the Platform. In general, the
underlying protocols are open source and anyone can use, copy, modify, and distribute them.
Voyager is not responsible for operation of the underlying protocols, and Voyager makes no
guarantee of their functionality, security, or availability. The underlying protocols are subject
to sudden changes in operating rules (“Forks”), and such Forks may materially affect the
value, function, or even the name of the Cryptocurrency Voyager or its Custodian holds for
Customer benefit. In the event of a Fork or any other similar operational change to a

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Cryptocurrency network Voyager may take all steps that it determines necessary to protect
the security and safety of the Platform, including temporarily suspending Voyager operations
(with or without advance notice to Customer). Voyager will use its reasonable efforts to
provide notice to Customer of its response to any Fork or similar operational change affecting
a Cryptocurrency. In response to a Fork or other similar operational change, Voyager may
determine not to support such Cryptocurrency on the Platform. Customer understands and
accepts the risks of Forks and other similar operating changes to Cryptocurrency available
through the Platform. Customer agrees that Voyager is not responsible for any loss of value
that Customer may experience as a result, whether directly or indirectly, from any such Fork
or similar operating change. Customer further acknowledges and accepts that Voyager has no
obligation or responsibility to assist Customer with respect to any Cryptocurrency that
Voyager determines not to support.

(B) In the event that a Cryptocurrency network attempts to or does contribute (an “Airdrop”)
Cryptocurrency (“Airdropped Cryptocurrency”) or any other similar event to a
Cryptocurrency network, then Voyager may, in its sole discretion, take steps that it
determines necessary to manage the Platform, including how and whether to incorporate
Airdropped Cryptocurrency into the Platform, distribute it to Customer or do nothing, or
such other action or inaction that Voyager deems appropriate in its sole discretion. Customer
understands and accepts the risks of Airdrops and other similar events to a Cryptocurrency
available through the Platform, and understands and agrees that ownership of a
Cryptocurrency in the Voyager App for which an Airdrop is occurring on the date of such
Airdrop does not in and of itself grant entitlement to or ownership of the Airdropped
Cryptocurrency. Customer agrees that Voyager is not responsible for any loss of value that
Customer may experience as a result, whether directly or indirectly, from any such Airdrop or
similar event. Customer further acknowledges and accepts that Voyager has no obligation or
responsibility to assist Customer with respect to any Cryptocurrency that Voyager determines
not to support whether or not Voyager receives an Airdropped Cryptocurrency by virtue of its
holding omnibus custody of the Cryptocurrency related to such airdrop. To the extent that
Voyager is aware of the Airdrop, Voyager will use its reasonable efforts to provide notice to
Customer of its response to any Airdrop. Voyager may, in its sole discretion, elect to: (1)
subject to potential fees, support the Airdropped Cryptocurrency and update the Account as
appropriate, (2) abandon or otherwise not pursue obtaining the Airdropped Cryptocurrency
from the relevant network, (3) liquidate the Airdropped Cryptocurrency and distribute the
proceeds to Customer or hold the funds in Customers Account for the benefit of Customer,
(4) deliver the Airdropped Cryptocurrency to Customer within a time period as determined
by Voyager in its sole discretion, together with any credentials, keys, or other information
sufficient to gain control over such Airdropped Cryptocurrency (subject to the withholding
and retention by Voyager of any amount reasonably necessary, as determined by Voyager in
its sole discretion, to fairly compensate Voyager for the efforts expended to obtain and
deliver such Airdropped Cryptocurrency to Customer), or (5) determine, in its sole



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discretion, that the Airdrop, although received by Voyager, does not have sufficient market
support or sufficient value to warrant Voyager incorporating the Airdropped Cryptocurrency
into the Platform in any way or distribute the Airdropped Cryptocurrency to its users.

10. Rewards Program

By entering into this Customer Agreement, and subject to clause (F) of this Section 10,
Customer understands, acknowledges and agrees that Customer is opting into the Voyager
Earn Program (the “Rewards Program”). The Rewards Program allows Customer to earn
additional Cryptocurrency of the same kind of Cryptocurrency held in Customer's Account
(the “Rewards”). The terms and conditions governing the Rewards Program are as follows:

(A) Overview. Each Customer participating in the Rewards Program acknowledges and
agrees that Voyager may rely on the consent to rehypothecate granted by each customer
pursuant to Section 5(D) – Consent to Rehypothecate with respect to Cryptocurrency
held in such Customer Account. Such consent to rehypothecate expressly includes allowing
Voyager to (1) stake Cryptocurrency held in an omnibus fashion through various blockchain
protocols (either by delegating Cryptocurrencies to the financial institutions which, in return,
stake such Cryptocurrencies or using staking service providers to stake Cryptocurrencies);
and (2) lend such Cryptocurrency to various institutional third parties (each, a “Borrower”)
determined at Voyager’s sole discretion (each, a “Loan”). Voyager enters into these Loans as
principal and independently negotiates with each Borrower the terms of a Loan, but these
Loans are generally unsecured, for a fixed term of less than one year or can be repaid on a
demand basis, and provide a fee payable in Cryptocurrency based on the percentage and
denominated in the Cryptocurrency lent. Voyager selects which and how much
Cryptocurrencies are available for such staking and lending.

(B) How Rewards Are Calculated. Rewards earned on Cryptocurrency are variable. Voyager
will typically publish anticipated reward rates once per month on or before the first business
day of each month. Reward rates may be tiered, with specified rates in effect at any time only
applied to specified portions of amounts of Cryptocurrency held in the Account. Rewards will
be payable in arrears and added to the Account on or before the fifth business day of each
calendar month for the prior calendar month. Voyager uses the daily balance method to
calculate the Rewards on the Account. This method applies a daily periodic rate to the
specified principal in the Account each day. The daily periodic rate is calculated by dividing
the applicable interest rate by three hundred sixty-five (365) days, even in leap years.
Voyager will determine the Reward rates and tiers for each month in Voyager’s sole
discretion, and Customer acknowledges that such Rewards may not be equivalent to
benchmark interest rates observed in the market for bank deposit accounts.

(C) How Rewards Are Paid. Rewards will be credited to the Account within five (5) business
days following the end of each calendar month. The Account must be open on such date in
order to receive this payment of Rewards. All Rewards will be paid in Cryptocurrency. Once


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Rewards have been credited to the Account, Customer may earn Rewards on such
Cryptocurrency in future months. Rewards will be paid in kind (i.e., in the type of
Cryptocurrency that is held in the Account).

(D) Withdrawals. Customer may request a Withdrawal at any time, consistent with the
mechanics outlined in Section 8 – Cryptocurrency Withdrawals. However, for
Customers in the Rewards Program, Withdrawals may be delayed, or in some instances
subject to partial completion. Customer understands and acknowledges that Customer may
only be able to earn Rewards to the extent that Customer satisfies certain minimum
Cryptocurrency balance requirements (“Minimum Balance”). Voyager will publish Minimum
Balance details on the Platform. Minimum Balance details are subject to change at any time.
If a Withdrawal results in a particular Cryptocurrency balance in Customer’s Account falling
below a Minimum Balance, then Customer will not earn Rewards with respect to
such Cryptocurrency.

(E) REWARDS PROGRAM RISKS. Participating in the Rewards Program may
put Customer's Cryptocurrency at risk.

(1) Voyager will use Customer’s Cryptocurrency to engage in staking and
lending activities. Loans made by Voyager may not be secured. Customer has
exposure to both Voyager’s and each Borrower’s credit risk. In the event of a
Borrower default, Voyager does not have an obligation or the ability to return
affected Cryptocurrency back to Customer’s Account.

(2) Loans may not be secured. Cryptocurrency subject to all lending activity or
certain staking activity delegated to a third party financial institution will not be
held by Voyager or its Custodians. Customer understands and acknowledges
that Voyager is not responsible for any Cryptocurrency that Voyager does not
itself hold or that is not held with one of its Custodians.

(3) The Rewards Program and Voyager's underlying staking and lending
activities are not insured.

(4) Customer understands each of the aforementioned risks and accepts the
risk of loss associated with participating in the Rewards Program up to, and
including, total loss of all Customer Cryptocurrency.

(F) Opt Out. Customer may opt-out of the Rewards Program at any time by doing so in
the App.

CUSTOMER UNDERSTANDS AND ACKNOWLEDGES THAT EVEN IF
CUSTOMER OPTS OUT OF THE REWARDS PROGRAM, CUSTOMER WILL
REMAIN SUBJECT TO THE TERMS OF SECTION 5 – ACCOUNT FUNDING;
REGULATORY TREATMENT. THEREFORE, EVEN IF CUSTOMER DOES NOT

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PARTICIPATE IN THE REWARDS PROGRAM, CUSTOMER CRYPTOCURRENCY
WILL STILL BE SUBJECT TO BEING HELD BY CUSTODIANS, WHICH MAY BE:
(1) LOCATED WITHIN THE U.S. OR IN A FOREIGN JURISDICTION OR (2)
HELD IN VOYAGER’S NAME OR OTHERWISE, OR (3) PLEDGED, REPLEDGED,
HYPOTHECATED, SOLD, LOANED, STAKED OR OTHERWISE TRANSFERRED
AT CUSTOMER’S SOLE RISK AND IN VOYAGER’S SOLE DISCRETION.

11. Account Termination

(A) Termination by Customer. Customer may request to close or terminate the Account at
any time by notifying Voyager Support at support@investvoyager.com and requesting in
writing that their Account be closed. Closing the Account will not affect any rights and
obligations incurred prior to the date of Account closure. Upon the termination of the
Account, Customer authorizes Voyager to immediately settle all outstanding transactions in
the Account and liquidate outstanding positions in the Account, as necessary. Customer shall
be required to provide transfer instructions with respect to USD or Cryptocurrency
remaining in the Account. Customer understands and agrees that Customer is responsible for
any fees, costs, expenses, charges, or obligations (including, but not limited to, attorney and
court fees or transfer costs of funds or Cryptocurrency) associated with closing the Account.
In the event that the costs of closing the Account exceed the value in the Account, Customer
will be responsible for reimbursing Voyager. Voyager may delay or refuse to terminate an
Account, in instances it deems appropriate or necessary, in its sole discretion, including but
not limited to, where: (a) Voyager believes such action is prudent in order to satisfy Voyager’s
anti-money laundering obligations, (b) Voyager suspects that the Customer is connected to,
engaged in, or acting in furtherance of fraud, or potential fraud, (c) Customer is in violation
of the Customer Agreement, (d) termination is being attempted within sixty (60) days of a
deposit of USD or Cryptocurrency into the Account, or (e) the Account has outstanding actual
or anticipated fees or other charges against it (the “Voyager Hold Purposes”).

(B) Termination by Voyager. Customer agrees that, without notice, Voyager may terminate
this Customer Agreement, suspend, restrict, limit or shutdown all or part of the Services, the
Account, as well as Customer’s access to the Platform, with or without cause at any time and
effective immediately, whether for maintenance or otherwise. Voyager shall not be liable to
Customer or any third party for the termination or suspension of the Services or Platform, or
any claims related to such termination or suspension.

(C) Effect of Termination. Upon termination or cancellation of the Account, Customer must
provide Voyager with transfer instructions, together with all other information that Voyager
may reasonably request, in order to transfer any remaining Cryptocurrency out of the
Account. All such transfers must be completed within ninety (90) days following Account
deactivation or cancellation. Voyager may delay or refuse to effectuate such a transfer or
termination, in instances it deems appropriate or necessary, in its sole discretion, including,
but not limited to, the Voyager Hold Purposes described in Section 11(A) above. If

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Cryptocurrency is not transferred out of the Account within ninety (90) days of the
termination or cancellation of the Account, Customer hereby agrees that Voyager is
permitted to sell any remaining Cryptocurrency on the open market at the prevailing market
price and return the proceeds (less any damages, fee, costs, or other obligations to which
Voyager is entitled) to any valid bank account linked to the Account.

12. Customer Representations, Warranties and Responsibilities

Customer represents, warrants, and/or acknowledges, as applicable, as of the date of this
Customer Agreement, and on each date that the Customer utilizes the Services:

(A) Self-Directed Account. Customer understands and acknowledges that the Account is self-
directed, and that Customer is solely responsible for any and all orders placed in the Account.
Customer understands that Customer is fully responsible for safeguarding Customer’s login
credentials and that Customer is responsible for any trade placed through, originating from,
or associated with the Account whether placed by Customer or another third-party as a result
of Customer’s failure to safeguard the login credentials. Customer represents that all orders
entered by Customer through the Account are unsolicited and based upon
Customer’s decisions.

(B) Investment Advice. Customer understands that Voyager, together with its affiliates, does
not provide recommendations or any investment advice. Customer represents that Customer
has not received any investment advice from Voyager, or its affiliates, and does not expect to
receive any investment advice from Voyager or any of its affiliates. Customer understands
and agrees that under no circumstances will Customer’s use of the Platform or Account be
deemed to create a relationship that includes the provision of or tendering of
investment advice.

(C) Research Materials. To the extent that research materials or similar information is made
available through the Platform, the Customer understands that these materials are intended
for information and educational purposes only and they do not constitute a recommendation
to enter into any transactions or to engage in any investment strategies.

(D) Anti-Money Laundering. Customer represents and warrants to Voyager that Customer is
not: (a) located in, under the control of, or a national or resident of any country to which the
United States has embargoed goods or services, (b) identified as a “Specially Designated
National,” (c) placed on the Commerce Department's Denied Persons List, and (d) a person
who is subject to any law, regulation, or list of any government authority (including, without
limitation, the U.S. Office of Foreign Asset Control list) that would prohibit or limit Voyager’s
ability to conduct business with Customer. Customer further represents and warrants that
Customer will not use the Platform if the laws of Customer’s country or jurisdiction prohibit
Customer from doing so in accordance with this Agreement.



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(E) Customer Information. Customer: (i) certifies that the information contained in this
Customer Agreement, the Account application, and any other document that Customer
furnishes to Voyager in connection with the Account is complete, true, and correct; (ii)
authorizes Voyager to contact any individual or firm noted on documents provided to
Voyager and any other normal sources of debit or credit information; (iii) authorizes anyone
so contacted to furnish such information to Voyager as Voyager may request; and (iv) agrees
that this Customer Agreement, the Account application, and any other document Customer
furnishes in connection with the Account is Voyager’s property. Customer shall promptly
advise Voyager of any changes to the information in such agreements and documents in
writing within ten (10) calendar days. Customer authorizes Voyager to obtain reports and
provide information to others concerning Customer’s creditworthiness and business conduct.
Upon Customer request, Voyager agrees to provide Customer a copy of any report so
obtained. Voyager may retain this Customer Agreement, the Account application, and all
other such documents and their respective records at Voyager’s sole discretion. Customer
understands that Voyager may take steps to verify the accuracy of the information Customer
provides to Voyager in the Voyager Account application or otherwise, including by directly or
indirectly making any inquiries Voyager considers necessary to verify Customer identity or
protect against fraud and that Voyager may restrict Customer access to the Account or take
other action Voyager reasonably deems necessary pending such verification.

(F) Risks. The Customer understands that all investments involve risk, that losses may
exceed the principal invested, and that the past performance of a Cryptocurrency, industry,
sector, market, or financial product does not guarantee future results or returns. Customer
further understands that there are risks associated with utilizing an internet-based trading
system including, without limitation, the failure of hardware, software and internet
connections as well as the risk of malicious software introductions.

(G) Assistance by Voyager. Customer understands that when Customer requests assistance
from Voyager or Voyager employees in using the tools available on the Website or the App, it
will be limited to an explanation of the tool’s functionality and, if requested by Customer, to
the entry by Voyager or Voyager or its affiliates employees of variables provided by
Customer, and that such assistance does not constitute investment advice, a
recommendation, an opinion with respect to the suitability of any transaction, or solicitation
of any orders.

(H) Unavailability in Certain Jurisdictions. Customer understands that the Service is not
provided to, and may not be used by, any person in any jurisdiction where the provision or
use thereof would be contrary to applicable laws and regulations. Voyager is not available in
all jurisdictions. Customer agrees to refrain from using the Service if Customer begins to
reside in a jurisdiction where the Service would violate any of the laws and regulations of
such jurisdiction. Customer will not provide incorrect information about Customer’s address,
residency or domicile and will immediately inform Voyager if there is any change to
previously provided information.

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(I) No Tax or Legal Advice. Customer understands that neither the Customer Agreement or
any other document or communication received from Voyager shall be construed as
providing any legal, accounting, estate, actuary, or tax advice. Customer agrees to review
publicly available information regarding the Customer’s positions in the Account, Account
statements and Trade Confirmations. Customer must rely upon its own representatives,
including its own legal counsel and accountant, as to legal, tax and related matters
concerning any of Customer’s activities with respect to the Account, including any assets or
transactions in the Account and for preparation of any legal, accounting or tax documents.

13. Risk Disclosure Statement

Customer represents that they have read and understands the Voyager Cryptocurrency
Disclosure Statement, available at https://www.investvoyager.com/riskdisclosure/.

14. Limited License; Restrictions; Related Terms

(A) Limited License. Subject to the registration and eligibility requirements and the terms
and conditions set forth herein, Voyager hereby grants to Customer a limited, non-exclusive
and non-transferable license to (i) download the App from an authorized application store
and install and use the App in accordance with this Customer Agreement and any and all
other documentation governing the use of the App, and (ii) use the Services, made available
in or otherwise accessible through the App.

(B) Restrictions. Customer will not: (i) copy the App, except as expressly permitted by this
license; (ii) modify, translate, adapt, or otherwise create derivative works or improvements,
whether or not patentable, of the App; (iii) reverse engineer, disassemble, decompile, decode,
or otherwise attempt to derive or gain access to the source code of the App or any part
thereof; (iv) remove, delete, alter, or obscure any trademarks or any copyright, trademark,
patent, or other intellectual property or proprietary rights notices from the App, including
any copy thereof; (v) rent, lease, lend, sell, sublicense, assign, distribute, publish, transfer, or
otherwise make available the App, or any features or functionality of the App, to any third-
party for any reason, including by making the App available on a network where it is capable
of being accessed by more than one device at any time; or (vi) remove, disable, circumvent, or
otherwise create or implement any workaround to any copy protection, rights management,
or security features in or protecting the App.

(C) Related Terms. Customer acknowledges and agrees that the App is provided under
license, and not sold, to Customer. Customer does not acquire any ownership interest in the
App under this Customer Agreement, or any other rights thereto other than to use the App in
accordance with the license granted, and subject to all terms, conditions, and restrictions,
under this Customer Agreement. Voyager and its licensors reserve and shall retain their
entire right, title, and interest in and to the App, including all copyrights, trademarks, and
other intellectual property rights therein or relating thereto, except as expressly granted to


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Customer in this Customer Agreement. Customer acknowledges that when Customer
downloads, installs, or uses the App, Voyager may use automatic means (including, for
example, cookies and web beacons) to collect information about Customer’s Mobile Device
(as defined below) and about Customer’s use of the App. Customer also may be required to
provide certain information as a condition for downloading, installing, or using the App or
certain of its features or functionality. All information Voyager collects through or in
connection with the App is subject to Voyager’s Privacy Policy. By downloading, installing,
using, and providing information to or through the App, Customer consents to all actions
taken by Voyager with respect to Customer information in compliance with the Privacy
Policy. Voyager may, from time to time, in its sole discretion, develop and provide App
updates, which may include upgrades, bug fixes, patches, other error corrections, and/or new
features (collectively, including related documentation, “Updates”). Updates may also modify
or delete in their entirety certain features and functionality. Customer agrees that Voyager
has no obligation to provide any Updates or to continue to provide or enable any particular
features or functionality. Based on Customer’s Mobile Device settings, when Customer’s
Mobile Device is connected to the internet either (i) the App will automatically download and
install all available Updates; or (ii) Customer may receive notice of or be prompted to
download and install available Updates. Customer shall promptly download and install all
Updates and acknowledge and agree that the App or portions thereof may not properly
operate should Customer fail to do so. Customer further agrees that all Updates will be
deemed part of the App and be subject to all terms and conditions of this Customer
Agreement. Customer acknowledges and agrees that, in order to use certain features and
functions of the App, including the ability to purchase and sell Cryptocurrency, Customer
must have and maintain an active Account. In addition, Customer acknowledges and agrees
that Customer may not be able to access all or some of the Services through the App outside
of jurisdictions where Voyager is approved to conduct business. Customer acknowledges and
agrees that Voyager may suspend or terminate, at any time and without notice to Customer,
Customer’s license to download, install, and use the App, and to access and use Services
through the App.

15. Information

The Platform and Services may include and make available certain Information.
“Information” includes, without limitation, market data, various analytical tools (such as
price quotes, exchange rates, news, headlines and graphs), links to other websites,
newsletters and other information (“Third Party Information”) provided by third parties
(each, a “Third Party” and collectively, the “Third Parties”). By making Information available
through the Platform, neither Voyager nor any of its Affiliates endorse, represent, warrant,
guarantee, sponsor or otherwise are responsible for the accuracy, correctness, timeliness,
completeness or suitability of such Information. Information is provided solely for the
Customer’s personal and noncommercial use. Customer understands that Voyager is not
required to continue to provide or update any Information and that Voyager may cease to


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provide such Information at any time. For the avoidance of doubt, Voyager is not responsible
for the termination, interruption, delay or inaccuracy of any Information. Customer
undertakes not to enable deep linking or any other form or re-distribution or re-use of the
Information. None of the Information may be redistributed or used for any purpose other
than with respect to the Services, including, without limitation, any trading activity outside of
the Platform and the Services. In addition, certain Third Parties may impose additional
restrictions and rules with respect to the use of Third Party Information, the terms of which
are available on the relevant Third Party websites.

Third Party Information may also include links to other websites or resources. Customer
acknowledges and agrees that neither Voyager nor the Third Parties are responsible for the
availability of such external sites or resources. Voyager and the Third Parties do not endorse
and are not liable for any content, advertising, products, or other materials on or available
through such sites or resources.

Voyager does not prepare, edit, or endorse Third Party Information. Voyager does not
guarantee the accuracy, timeliness, completeness or usefulness of Third Party Information,
and is not responsible or liable for any content, advertising, products, or other materials on
or available from third party sites. Customer will not hold Voyager and/or any Third Party
liable in any way for (a) any inaccuracy of, error or delay in, or omission of the Information;
or (b) any loss or damage arising from or occasioned by (i) any error or delay in the
transmission of such Information; (ii) interruption in any such Information due either to any
negligent act or omission by any party to any “Force Majeure” (e.g., flood, extraordinary
weather conditions, earthquake or other act of God, fire, war, insurrection, epidemic,
pandemic, riot, labor dispute, accident, action of government, communications or power
failure, equipment or software malfunction); (iii) to any other cause beyond the reasonable
control of Voyager and/or Third Party; or (iv) non-performance.

16. Third Party Services

Voyager may, at Voyager’s sole discretion, arrange for certain actions on the Platform to be
performed by or through certain Third Parties. In addition, Customer may be made aware of,
or offered, additional services, content, features, products, non-Voyager applications, offers
and promotions provided through Third Parties (“Third Party Services”). Voyager’s inclusion
or promotion of Third Party Services on the Platform does not reflect a sponsorship,
endorsement, approval, investigation, verification and certification or monitoring of such
Third Party Services by Voyager. Customer’s acquisition of Third Party Services, and any
exchange of data between Customer and any provider of Third Party Services, is solely
between Customer and such Third Party. Customer chooses to use any Third Party Services
at Customer’s own risk, and under terms and conditions agreed between Customer and such
Third Party. Customer further acknowledges that Voyager has no control over Third Party
Services and that Customer may be charged fees by the Third Party Service provider. Voyager



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is not responsible for any Third Party Services’ fees. Customer is solely responsible for the
use of any Third Party Service, and Customer agrees to comply with all terms and conditions
applicable to any Third Party Service when using such.

17. Prohibited Use

In connection with Customer’s use of the Services, Customer agrees and represents that it
will not engage in any Prohibited Business or Prohibited Use (each as defined below).
Voyager reserves the right to cancel or suspend an Account or block transactions or freeze
funds or Cryptocurrency immediately and without notice if Voyager determines, in its sole
discretion, that an Account is associated with a Prohibited Use or a Prohibited Business.

(A) Prohibited Use. Without express written consent from Voyager and compliance with
applicable laws and regulations, Customer may not use an Account to engage in the following
categories of activity (“Prohibited Uses”). Each of the below examples are representative, but
not exhaustive. If at any time Customer is uncertain as to whether or not Customer’s use of
the Services involves a Prohibited Use, or if Customer has any questions about how these
requirements apply, please contact Voyager at support@investvoyager.com. By opening an
Account, Customer confirms that it will not use an Account to do any of the following:

(1) Investment Activity. Make statements as to Customer’s eligibility to provide investment
advice, portfolio management or any other services or activities which may require a license,
registration or notification in the state where the Customer is resident or the state where
other Customers are resident.

(2) Endorsements. Make statements that Voyager or its Affiliates endorse, maintain any
control or guarantee the accuracy or completeness of any information published, posted or
shared by Customer with other Customers.

(3) Unlawful Activity. Activity which would violate, or assist in violation of, any law, statute,
ordinance, or regulation, sanctions programs administered in the countries where Voyager
conducts business, including, without limitation, the U.S. Department of Treasury's Office of
Foreign Assets Control (“OFAC”), or which would involve proceeds of any unlawful activity;
publish, distribute or disseminate any unlawful material or information.

(4) Abusive Activity. Actions which impose an unreasonable or disproportionately large load
on Voyager’s infrastructure, or detrimentally interfere with, intercept, or expropriate any
system, data, or information; transmit or upload any material to the Platform that contains
viruses, trojan horses, worms, or any other harmful or deleterious programs; attempt to gain
unauthorized access to the Platform, other Customers’ Accounts, computer systems or
networks connected to the Platform, through password mining or any other means; use
Account information of another party to access or use the Platform; or transfer Customer’s
Account access or rights to Customer’s Account to a third party, unless by operation of law or
with the express permission of Voyager.

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(5) Circumvention and Reverse Engineering. Unlawfully access or attempt to gain access,
reverse engineer or otherwise circumvent any security measures that Voyager has applied to
the Services or the Platform.

(6) Abusive Trading Techniques. Utilize trading strategies aimed at exploiting errors in
prices or concluding trades at off-market prices, or taking advantage of internet delays (such
a scalping or sniping), including, without limitation, entering into transactions or
combinations of transactions which taken together or separately are for the purpose of
manipulating the Platform and the Services.

(7) Abuse Other Customers. Interfere with another individual’s or entity’s access to or use of
any Services; defame, abuse, extort, harass, stalk, threaten or otherwise violate or infringe
the legal rights (such as, but not limited to, rights of privacy, publicity and intellectual
property) of others; incite, threaten, facilitate, promote, or encourage hate, racial intolerance,
or violent acts against others; harvest or otherwise collect information from the Platform
about others, including without limitation, email addresses, without proper consent.

(8) Fraud: Activity which operates to defraud Voyager, Voyager customers, or any other
person; provide any false, inaccurate, or misleading information to Voyager.

(9) Gambling: Lotteries; bidding fee auctions; sports forecasting or odds making; fantasy
sports leagues with cash prizes; internet gaming; contests; sweepstakes; games of chance.

(10) Intellectual Property Infringement: Engage in transactions involving items that infringe
or violate any copyright, trademark, right of publicity or privacy or any other proprietary
right under the law, including, without limitation, sales, distribution, or access to counterfeit
music, movies, software, or other licensed materials without the appropriate authorization
from the rights holder; use of Voyager intellectual property, name, or logo, including, without
limitation, use of Voyager trade or service marks, without express consent from Voyager or in
a manner that otherwise harms Voyager or the Voyager brand; any action that implies an
untrue endorsement by or affiliation with Voyager.

(11) Competition: Utilize confidential information received by Customer from Voyager or
Third Party to develop a service that competes with the Services, or the services of any of
Voyager’s Affiliates.

(B) Prohibited Business. In addition to the Prohibited Uses described above, the following
categories of businesses, business practices, and sale items are barred from the Services
(“Prohibited Businesses”). Most Prohibited Businesses categories are imposed by law as well
as card networks, the requirements of Voyager’s banking providers or processors. The
specific types of use listed below are representative, but not exhaustive. If Customer is
uncertain as to whether or not Customer’s use of the Services involves a Prohibited Business,
or if Customer has any questions about how these requirements apply, please contact


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Voyager support@investvoyager.com. By opening an Account, Customer confirms that
Customer will not use the Services in connection with any of the following businesses,
activities, practices or items:

(1) Intellectual Property or Proprietary Rights Infringement: Sales, distribution, or access to
counterfeit music, movies, software, or other licensed materials without the appropriate
authorization from the rights holder.

(2) Counterfeit or Unauthorized Goods: Unauthorized sale or resale of brand name or
designer products or services; sale of goods or services that are illegally imported or exported
or which are stolen.

(3) Drugs and Drug Paraphernalia: Sale of narcotics, controlled substances, and any
equipment designed for making or using drugs, such as bongs, vaporizers, and hookahs.

(4) Pseudo-Pharmaceuticals: Pharmaceuticals and other products that make health claims
that have not been approved or verified by the applicable local or national regulatory body.

(5) Substances Designed to Mimic Illegal Drugs: Sale of a legal substance that provides the
same effect as an illegal drug (e.g., salvia, kratom).

(6) Multi-level Marketing: Pyramid schemes, network marketing, and referral
marketing programs.

(7) Unfair, Predatory or Deceptive Practices: Investment opportunities or other services that
promise high rewards; Sale or resale of a service without added benefit to the buyer; resale of
government offerings without authorization or added value; sites that Voyager determines, in
its sole discretion, to be unfair, deceptive, or predatory towards consumers.

(8) High Risk Businesses: Any businesses that Voyager believes poses elevated financial
risk, legal liability, or violates card network or bank policies.

18. Privacy

By accessing the Platform and using the Services, Customer is consenting to having
Customer’s personal data transferred to and processed by Voyager. For information about
how Voyager collects, uses, shares and otherwise processes Customer information, please see
Voyager’s Privacy Policy.

By entering into this Customer Agreement, Customer acknowledges receipt of the Privacy
Policy, which may be amended from time to time by posting a new version to the Website, or
as made available through the App.

19. State License Disclosures



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Voyager maintains various licenses to engage in money transmission activities. Voyager
maintains licenses in each of the jurisdictions identified in the Voyager State License
Disclosure, available here. By accessing the Platform and using the Services, Customer
acknowledges receipt of the Voyager State License Disclosure.

20. Limitation of Liability; Indemniﬁcation

Customer agrees that the Customer’s use of the Information, Services and Platform is
provided by Voyager at the Customer’s sole risk. The Platform, Services, Information, or any
other information or features provided, or made available by, Voyager, any of its Affiliates, or
any Third Party, including, without limitation, Third Party Services are provided on an “as
is,” “as available” basis without warranties of any kind, either express or implied, statutory
(including, but not limited to, timeliness, truthfulness, sequence, completeness, accuracy,
freedom from interruption), implied warranties arising from trade usage, course of dealing,
course of performance, or the implied warranties of merchantability or fitness for a particular
purpose or application, other than those warranties which are implied by and incapable of
exclusion, restriction or modification under the laws applicable to the Customer Agreement.

THE CUSTOMER UNDERSTANDS AND AGREES THAT VOYAGER, ITS
AFFILIATES, AND THEIR RESPECTIVE PARTNERS, MANAGING DIRECTORS,
DIRECTORS, OFFICERS, EMPLOYEES, AGENTS, AND THIRD PARTY
PROVIDERS WILL NOT BE LIABLE TO THE CUSTOMER OR TO THIRD
PARTIES UNDER ANY CIRCUMSTANCES, OR HAVE ANY RESPONSIBILITY
WHATSOEVER, FOR ANY SPECIAL, INDIRECT, INCIDENTAL, PUNITIVE OR
CONSEQUENTIAL DAMAGES (INCLUDING, WITHOUT LIMITATION, LOST
PROFITS, TRADING LOSSES, AND DAMAGES) THAT THE CUSTOMER MAY
INCUR IN CONNECTION WITH THE CUSTOMER’S USE OF THE SERVICES
(INCLUDING BUT NOT LIMITED TO THIRD PARTY SERVICES) OR THE
PLATFORM PROVIDED BY VOYAGER UNDER THE CUSTOMER AGREEMENT.
VOYAGER, ITS AFFILIATES AND ITS AND THEIR RESPECTIVE PARTNERS,
DIRECTORS, OFFICERS, EMPLOYEES, AND AGENTS SHALL NOT BE LIABLE
BY REASON OF DELAYS OR INTERRUPTIONS OF INFORMATION, THE
PLATFORM OR SERVICES (INCLUDING BUT NOT LIMITED TO THIRD PARTY
SERVICES) OR TRANSMISSIONS, OR FAILURES OF PERFORMANCE OF
VOYAGER’S, ITS AFFILIATES, OR THIRD PARTY SYSTEMS, REGARDLESS OF
CAUSE, INCLUDING, WITHOUT LIMITATION, THOSE CAUSED BY
GOVERNMENTAL OR REGULATORY ACTION, THE ACTION OF ANY
EXCHANGE OR OTHER SELF REGULATORY ORGANIZATION, OR THOSE
CAUSED BY SOFTWARE OR HARDWARE MALFUNCTIONS.

Except as otherwise provided by law, Voyager, its Affiliates and their respective partners,
directors, officers, employees or agents (collectively, “Indemnified Parties”) shall not be
liable for any expenses, losses, costs, damages, liabilities, demands, debts, obligations,

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penalties, charges, claims, causes of action, penalties, fines and taxes of any kind or nature
(including, without limitation, legal expenses and attorneys’ fees) (whether known or
unknown, absolute or contingent, liquidated or unliquidated, direct or indirect, due or to
become due, accrued or not accrued, asserted or unasserted, related or not related to a third
party claim, or otherwise) (collectively, “Losses”) by or with respect to any matters pertaining
to the Customer Agreement, the Services, Information, or Third Party Services, except to the
extent that such Losses are actual Losses and are determined by a court of competent
jurisdiction or an arbitration panel in a final non-appealable judgment or order to have
resulted solely from the Voyager’s gross negligence or intentional misconduct. In addition,
the Customer agrees that the Indemnified Parties shall have no liability for, and the
Customer agrees to indemnify, defend and hold harmless the Indemnified Parties from all
Losses that result from: (i) any noncompliance by the Customer with any of the terms and
conditions of the Customer Agreement or Third Party Services; (ii) any third-party actions
related to the Customer’s receipt and use of any Information, Third Party Services, other
third party content, or other such information obtained through the Platform, whether
authorized or unauthorized under the Customer Agreement; (iii) any third party actions
related to the Customer’s use of the Platform, Information, or Third Party Services; (iv) the
Customer or the Customer’s agent’s misrepresentation or alleged misrepresentation, or act or
omission; (v) Indemnified Parties following the Customer or the Customer’s agent’s
directions or instructions, or failing to follow the Customer or the Customer’s agent’s
unlawful or unreasonable directions or instructions; (vi) any activities or services of the
Indemnified Parties in connection with an Account (including, without limitation, any
technology services, reporting, trading, or research services); (vii) the occurrence of, and any
Indemnified Parties’ action or inaction with respect to, a Potential Fraudulent Event (as
defined in paragraph 3 of Section 21 below); or (viii) the failure by any person not controlled
by the Indemnified Parties and their Affiliates to perform any obligations to the Customer.
Further, if the Customer authorizes or allows third parties to gain access to the Platform,
Information or the Account, whether by virtue of Third Party Services or otherwise, the
Customer will indemnify, defend and hold harmless Voyager, its Affiliates and its and their
respective directors, officers, employees and agents against any Losses arising out of claims
or suits by such third parties based upon or relating to such access and use. Voyager does not
warrant against loss of use or any direct, indirect or consequential damages or Losses to the
Customer caused by the Customer’s assent, expressed or implied, to a third party accessing
an Account or information, including, without limitation, access provided through any Third
Party Service.

The Customer also agrees that Indemnified Parties will have no responsibility or liability to
the Customer in connection with the performance or non-performance by any exchange,
clearing organization, data provider, or other third party (including, but not limited to, other
money services businesses, clearing firms, banks, liquidity providers, or market makers) or
any of their respective agents or affiliates, of its or their obligations relative to any
Cryptocurrency or other products. The Customer agrees that Indemnified Parties will have

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no liability, to the Customer or to third parties, or responsibility whatsoever for: (i) any
Losses resulting from a cause over which Indemnified Parties do not have direct control,
including, without limitation, the failure of mechanical equipment, hack, unauthorized
access, theft, operator errors, government restrictions, force majeure, market data
availability or quality, exchange rulings or suspension of trading; and (ii) any special,
indirect, incidental, consequential, punitive or exemplary damages (including, without
limitation, lost profits, trading losses and damages) that the Customer may incur in
connection with the Customer’s use of the Platform, and other services provided by
Indemnified Parties under the Customer Agreement or in connection therewith.

CUSTOMER AGREES TO INDEMNIFY VOYAGER FOR ACTUAL, REASONABLE
LEGAL COSTS AND EXPENSES DIRECTLY RELATED TO THE ACCOUNT THAT
ARE A RESULT OF ANY REGULATORY INQUIRY, LEGAL ACTION,
LITIGATION, DISPUTE, OR INVESTIGATION THAT ARISES OR RELATES TO
CUSTOMER OR CUSTOMER’S USE OF THE ACCOUNT OR THE SERVICES.
CUSTOMER UNDERSTANDS THAT, AS A RESULT, VOYAGER WILL BE
ENTITLED TO CHARGE THE ACCOUNT FOR SUCH COSTS WITHOUT NOTICE,
INCLUDING LEGAL AND ENFORCEMENT RELATED COSTS THAT VOYAGER
INCURS. ANY WITHHOLDING WILL LAST FOR A PERIOD OF TIME THAT IS
REASONABLY NECESSARY TO RESOLVE ANY REGULATORY OR LEGAL
ISSUE AT HAND, AND VOYAGER MAY PLACE ANY AMOUNTS GARNERED
FROM CUSTOMER IN A SEPARATE ACCOUNT, AND WILL PAY TO CUSTOMER
THE REMAINING BALANCE AFTER ANY NOTED ISSUE HAS BEEN
RESOLVED. FURTHERMORE, CUSTOMER AGREES THAT WHERE SUCH
ACTIONS RELATE TO A SPECIFIC ASSET IN THE ACCOUNT, THAT ASSET
MAY NOT BE TRANSFERRED OUT OF THE ACCOUNT UNTIL THE MATTER
IS RESOLVED.

21. Electronic Access

Customer is solely responsible for keeping all Account numbers and CSI confidential and will
not share this information with third parties. “CSI” shall mean all of the Customer’s sensitive
information regarding access to the Account, including the Customer’s username, password,
as well as any other information connected to Customer’s two-factor authentication Account
access methodology (“2-Factor Authentication”). Customer agrees and accepts full
responsibility for monitoring and safeguarding the Accounts and access to the Accounts.
Specifically, by using the Services, Customer represents and warrants to Voyager that
Customer has installed and implemented appropriate means of protection relating to the
security and integrity of the internet-connected device(s) that Customer uses to access the
Platform and the Services and that Customer has taken appropriate action to protect such
devices from viruses or other similar harmful or inappropriate materials, devices,




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information, or data. Customer further undertakes to protect Voyager from any wrongful
transmission of computer or other viruses or similarly harmful or inappropriate materials or
devices to the Platform.

CUSTOMER UNDERSTANDS AND ACKNOWLEDGES THAT THE USE OF 2-
FACTOR AUTHENTICATION PROVIDES ADDITIONAL SECURITY AND
PROTECTION AGAINST UNAUTHORIZED ACCOUNT ACCESS. FAILURE TO
IMPLEMENT 2-FACTOR AUTHENTICATION EXPOSES CUSTOMER TO
POTENTIAL SIGNIFICANT RISK, INCLUDING THE RISK OF UNAUTHORIZED
ACCOUNT ACCESS AS WELL AS THE COMPLETE LOSS OF ALL FUNDS AND
CRYPTOCURRENCY IN THE CUSTOMER ACCOUNT. IF CUSTOMER CHOOSES
TO ACCESS THE ACCOUNT AND THE SERVICES WITHOUT 2-FACTOR
AUTHENTICATION ENABLED IT SHALL DO SO AT ITS SOLE RISK AND SHALL
BE SOLELY LIABLE FOR ANY LOSSES SUFFERED BY CUSTOMER OR
VOYAGER IN CONNECTION WITH ANY UNAUTHORIZED ACCOUNT ACCESS,
TAKEOVER, OR USE OF ANY KIND.

The Customer agrees to immediately notify Voyager in writing, delivered via e-mail and a
recognized international delivery service, if the Customer becomes aware of: (i) any loss,
theft, or unauthorized use of Customer CSI or Account numbers, including inability to utilize
2-Factor Authentication; (ii) any failure by the Customer to receive any communication from
Voyager indicating that an order was received, executed or cancelled, as applicable; (iii) any
failure by the Customer to receive an accurate written confirmation of an order, execution, or
cancellation; (iv) any receipt by the Customer of confirmation of an order, execution or
cancellation, which the Customer did not place; (v) any inaccurate information in or relating
to the Customer orders, trades, margin status, Account balances, deposits, withdrawals,
securities positions or transaction history; or (vi) any other unauthorized use or access of the
Customer Accounts.

Each of the events described above shall be deemed a “Potential Fraudulent Event.” The use
and storage of any information including the Account numbers, CSI, portfolio information,
transaction activity, account balances and any other information or orders available on the
Customer’s wireless, web-enabled cellular telephone or similar wireless communications
device (each, a “Mobile Device”) or the Customer’s personal computer is at the Customer’s
own risk and is the Customer’s sole responsibility. The Customer represents that the
Customer is solely responsible for and has authorized any orders or instructions appearing
in, originating from, or associated with the Accounts, the Account numbers, the Customer
username and password, or CSI. The Customer agrees to notify Voyager immediately after
the Customer discovers any Potential Fraudulent Event, but in no event more than twenty-
four (24) hours following discovery.




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Upon the occurrence of a Potential Fraudulent Event or Voyager’s suspicion that a Potential
Fraudulent Event has occurred or is likely to occur, Voyager may amend or issue Customer
new CSI, require Customer to change CSIs, and/or suspend or limit access to the Platform
and Services. In the event that Customer is unable to access the Account due to the fact that
they are unable, for any reason, to complete necessary 2-Factor Authentication, including
because Customer is unable to access their Mobile Device, changed their telephone number,
or otherwise, Customer may be unable to access the Account for an extended period of time.
Voyager will provide Customer with reasonable assistance in an attempt to restore 2-Factor
Authentication operability.

Upon request by Voyager, the Customer agrees to report any Potential Fraudulent Event
promptly to legal authorities and to provide Voyager a copy of any report prepared by such
legal authorities. The Customer agrees to cooperate fully with the legal authorities and
Voyager in any investigation of any Potential Fraudulent Event and the Customer will
complete any required affidavits promptly, accurately and thoroughly. The Customer also
agrees to allow Voyager access to the Customer’s Mobile Device, the Customer’s computer,
and the Customer’s network in connection with Voyager’s investigation of any Potential
Fraudulent Event. The Customer understands that if the Customer fails to do any of these
things the Customer may encounter delays in regaining access to the Account.

22. Electronic Signatures: Modiﬁcations to the Customer Agreement

The Customer agrees to transact business with the Voyager electronically. By electronically
signing the Customer Agreement, the Customer acknowledges and agrees that such
electronic signature is valid evidence of the Customer’s consent to be legally bound by the
Customer Agreement and such subsequent terms as may govern the use of the Platform. The
use of an electronic version of any document fully satisfies any requirement that the
document be provided to the Customer in writing. The Customer accepts notice by electronic
means as reasonable and proper notice, for the purpose of any and all laws, rules and
regulations. Customer understands that, if required by applicable law, or if Voyager decides
in its sole discretion, Voyager may provide Customer with notices by other means, including
emails linking to the Platform, other emails, or text messages. The electronically stored copy
of the Customer Agreement on the Website is considered to be the true, complete, valid,
authentic and enforceable record of the Customer Agreement, admissible in judicial or
administrative proceedings to the same extent as if the documents and records were
originally generated and maintained in printed form. The Customer agrees to not contest the
admissibility or enforceability of Voyager’s electronically stored copy of the
Customer Agreement.

In addition, if the Customer requests other Services provided by Voyager that require the
Customer to agree to specific terms and conditions electronically (through clicks or other
actions) or otherwise, such terms and conditions will be deemed an amendment and will be
incorporated into and made part of this Customer Agreement.

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23. Consent to Electronic Delivery of Documents

(A) Consent. By agreeing to electronic delivery, the Customer is giving informed consent to
electronic delivery of all Agreement Documents, as defined below, other than those the
Customer has specifically requested to be delivered in paper form. “Agreement Documents”
include notices, disclosures, current and future account statements, regulatory
communications (such as prospectuses, proxy solicitations, and privacy notices), trade
confirmations, tax-related documents, and any other information, documents, data, and
records regarding the Account, the Customer Agreement (including, without limitation,
amendments to the Customer Agreement), and the Services delivered or provided to the
Customer by Voyager, and any other parties. The Customer agrees that the Customer can
access, view, download, save, and print any Agreement Documents received via electronic
delivery for the Customer’s records.

(B) Electronic Delivery System. The Customer acknowledges Voyager’s primary method of
communication with the Customer includes: (i) posting information on the Website, (ii)
providing information via the App, (iii) sending email(s) to the Customer’s email address of
record, and, to the extent required by law, (iv) providing the Customer with notice(s) that will
direct the Customer to the App or the Website where information can be read and printed.
Unless otherwise required by law, Voyager reserves the right to post Agreement Documents
on the Website without providing notice to the Customer. Further, Voyager reserves the right
to send Agreement Documents to the Customer’s postal or email address of record, or via the
App or Website. The Customer agrees that all Agreement Documents provided to the
Customer in any of the foregoing manners is considered delivered to the Customer personally
when sent or posted by Voyager, whether the Customer receives it or not.

All email notifications regarding Agreement Documents will be sent to the Customer’s email
address of record. The Customer agrees to maintain the email address provided to Voyager
until the Customer provides Voyager with a new one. The Customer understands that email
messages may fail to transmit promptly or properly, including being delivered to SPAM
folders. The Customer further understands that it is their sole responsibility to ensure that
any emails from Voyager are not marked as SPAM. Regardless of whether or not the
Customer receives an email notification, the Customer agrees to check the Website regularly
to avoid missing any information, including time-sensitive or otherwise important
communication. If the Customer authorizes someone else to access the email account
provided to Voyager, the Customer agrees to tell the authorized individual to share the
Agreement Documents with the Customer promptly, and the Customer accepts the risk that
they will see sensitive Account information. The Customer understands that if a work email
address or computing or communications device is used for Account access the employer or
other employees may have access to the Agreement Documents.




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Additionally, the Customer acknowledges that the internet is not a secure network and agrees
that the Customer will not send any confidential information, including, without limitation,
Account numbers or passwords, in any unencrypted emails. The Customer also understands
that communications transmitted over the internet may be accessed by unauthorized or
unintended third parties and agrees to hold Voyager and its Affiliates, and each Voyager’s
and ifs Affiliates’ respective directors, officers, employees and agents harmless for any such
access regardless of the cause.

The Customer agrees to promptly and carefully review all Agreement Documents when they
are delivered and notify Voyager in writing within five (5) calendar days of delivery if there is
objection to the information provided (or other such time specified in the Customer
Agreement). If the Customer fails to object in writing within such time, Voyager is entitled to
treat such information as accurate and conclusive. The Customer will contact Voyager to
report any problems with accessing the Agreement Documents.

(C) Costs. Potential costs associated with electronic delivery of Agreement Documents may
include charges from internet access providers and telephone companies, and the Customer
agrees to bear these costs. Voyager will not charge the Customer additional online access fees
for receiving electronic delivery of Agreement Documents.

(D) Revocation of Consent. Subject to the terms of the Agreement Documents, the Customer
may revoke or restrict consent to electronic delivery of Agreement Documents at any time by
notifying the Voyager in writing of the intention to do so. The Customer also understands
that the Customer has the right to request paper delivery of any Agreement Document that
the law requires Voyager to provide to the Customer in paper form. Voyager will not treat the
Customer request for paper copies as a withdrawal of consent to electronic delivery of
Agreement Documents. The Customer understands that if revoking or restricting consent to
electronic delivery or requesting paper delivery of Agreement Documents, Voyager, in its sole
discretion, may charge the Customer a reasonable service fee for the delivery of any
Agreement Documents that would otherwise be delivered to the Customer electronically,
restrict or close the Account(s), or terminate the Customer’s access to the Platform in each
case, in Voyager’s sole discretion. The Customer understands that neither the revocation or
restriction of consent, nor the request for paper delivery, nor Voyager’s delivery of paper
copies of Agreement Documents will affect the legal effectiveness or validity of any electronic
communication provided while consent was in effect.

(E) Duration of Consent. Customer consent to receive electronic delivery of Agreement
Documents will be effective immediately and will remain in effect unless and until either the
Customer or Voyager revokes it. In the event that Customer revokes such consent, Customer
understands and acknowledges that Voyager may immediately terminate this Agreement.
The Customer understands that it may take up to three (3) business days to process a
revocation of consent to electronic delivery, and that the Customer may receive electronic
notifications until such consent is processed.

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(F) Hardware and Software Requirements. The Customer understands that in order to
access the Platform, utilize the Services and receive electronic deliveries, the Customer must
have access to a computer or Mobile Device, a valid e-mail address, and the ability to
download such applications as Voyager may specify and to which the Customer has access.
The Customer also understands that if the Customer wishes to download, print, or save any
information, that the Customer must have access to a printer or other device in order to
do so.

(G) Consent and Representations. The Customer hereby agrees to have carefully read the
above information regarding informed consent to electronic delivery and fully understand
the implications thereof. Additionally, the Customer hereby agrees to all conditions outlined
above with respect to electronic delivery of any Agreement Document. The Customer will
maintain a valid e-mail address and continue to have access to the internet.

24. Electronic Fund Transfers

(A) Overview. Customer understands that the Account provides for certain electronic fund
transfer (“EFT”) capabilities. This Section applies solely with respect to EFTs. Customer
understands and agrees that Customer’s use of any EFT function is subject to the disclosures
set forth in Section 24 – Electronic Fund Transfers, and Customer acknowledges that they
have received and reviewed such disclosures.

 (B) Customer Liability. Customer agrees to contact Voyager immediately if Customer
believes an EFT has been initiated without Customer’s permission. Also, in the event that an
Account Statement shows an EFT transfer that Customer did not make, Customer agrees to
contact Voyager promptly but in any event within 60 days after the Account Statement is
made available to Customer. The longer Customer waits to notify Voyager of any
unauthorized EFT the more likely it is that Customer will be unable to obtain any lost funds.

(C) Contact Information. In the event of an unauthorized EFT Customer should contact
Voyager Support.



(D) Transfer Types and Limits. EFTs are subject to the following limits:



USD Deposits: Daily limit: $5,000.



USD Withdrawals: Daily limit: $25,000.




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(E) Fees. Voyager will not charge Customer any fees in connection with the initiation and
completion of any EFT, however, third party fees, including foreign taxes, as applicable,
may apply.

(F) Confidentiality. Voyager may disclose information to third parties about Customer as
well as the EFTs effectuated out of the Account in the following circumstances:

(1) Where it is necessary or helpful for completing or correcting transactions and resolving
claims regarding transactions;



(2) In order to verify the existence and condition of the Account to a third party;

 (3) In order to comply with a valid request by a government agency a court order, or other
legal or administrative reporting requirements;

(4) If Customer consents by giving Voyager written permission; to Voyager employees,
auditors, affiliates, service providers, or attorneys as needed;

(5) In order to prevent, investigate or report possible illegal activity;

(6) In order to authorize EFTs; or

(7) Otherwise as necessary to fulfill our obligations under this Agreement.

Please see Voyager’s Privacy Policy for further details.

(G) Documentation. Upon the completion of an EFT Customer has a right to a written
receipt (an “EFT Receipt”) including the details of the EFT. In addition, the Customer has a
right to transaction statements in connection with the Account (“Account Statements”).

(H) Voyager Liability. In no event will Voyager be liable to Customer for any equitable,
consequential (including lost profits, indirect, extraordinary, incidental, punitive, or special
damages). For instance, Voyager will not be liable to Customer if:

(1) Customer does not have enough funds in the Account to complete the EFT;

(2) Voyager has placed a hold or other limit on Customer’s Account in connection with any
legal, regulatory, or administrative process, or in connection with Voyager’s anti-money
laundering and compliance obligations;

(3) Voyager experienced a technical malfunction that the Customer was aware of at the time
of the transaction;

(4) Voyager suspects that the requested EFT is unauthorized; or


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(5) Circumstances beyond Voyager’s control prevent the completion of the EFT or otherwise
cause an EFT to be completed incorrectly or inaccurately.

(I) Errors; Questions.
In the event that Customer believes an EFT Receipt or Account Statement is incorrect (an
“EFT Error”) or if Customer has any questions about an EFT, contact Voyager at
Voyager Support.

The following are considered EFT Errors:

(1) An unauthorized EFT;

(2) An incorrect EFT to or from Customer’s Account;

(3) An improperly recorded EFT on Customer’s Account Statement; or

(4) A computational or bookkeeping error related to Customer’s Account.

The following are NOT considered EFT Errors:

(1) A routine inquiry about Customer’s account balance or the status of pending transfers to
or from Customer's account, unless Customer expressly notifies Voyager of an error in
connection with the transfer;

(2) A request for information for tax or other recordkeeping purposes; or

(3) A request for duplicate copies of documentation.

Voyager must be properly notified no later than 60 days after Customer was provided access
to the statement in question. In order for Voyager to be properly notified, Customer must
conduct the following steps:

(1) Contact Voyager Support and submit the request under the subcategory:
Unauthorized USD Transfer or USD Transfer Error.

(2) Provide Voyager with Customer’s name and email address or phone number that is
actively associated with the Account.

(3) Describe the EFT Error or the transfer that Customer is unsure of and explain as clearly
as Customer can why Customer believes an error is present or why Customer needs
more information.

(4) State the type, date, and dollar amount of the suspected EFT Error.




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If Customer orally notifies Voyager of an EFT Error or question, Customer is required to send
the complaint or question, in writing and in the same manner described above, to Voyager
Support within 10 business Days.



Voyager will generally determine whether an error occurred within 10 business days after
Voyager is properly notified of the EFT Error by Customer and will correct any error
promptly. If Voyager needs more time, however, Voyager may take up to 45 days to
investigate Customer’s complaint or question.



For EFT Errors involving new Accounts and point-of-sale transactions, Voyager may take up
to 90 days to investigate the complaint or question.



Within 3 business days after completing an investigation, Voyager will communicate the
results to Customer. If Voyager determines that there was no error, Voyager will send
Customer a written explanation. Customer may ask for copies of the documents that Voyager
used in an investigation. “Business days” are Monday through Friday, excluding
federal holidays.

25. ACH

Customer authorizes Voyager, at its discretion and without further prior notice, to utilize an
electronic check process or Automated Clearing House (“ACH”) facility to draft funds in the
amount of any checks payable to Voyager, its agents or assigns. Money deposited via ACH is
normally not available for five (5) to ten (10) business days. Customer understands that for
ACH transfers to be established, the name on the Account must match Customer’s bank
account. To send and receive funds via ACH, Customer’s bank must be a member of the ACH
system. For ACH transactions, Customer hereby grants Voyager limited power of attorney to
effectuate such transactions. Customer understand that if Customer decides to rescind an
ACH transfer, or if an ACH transaction is returned to Customer’s bank for any reason,
Customer hereby directs and grants Voyager power of attorney to redeem any and all
Cryptocurrency purchases and deposits necessary to fulfill and make such rescission
regardless of whether Customer incurs a loss. The remediation described in the preceding
sentence may result in a delay of returned funds or liquidation of Customer assets. Voyager
may also choose to sever the client relationship and return prior deposits if warranted to
protect Voyager from risk or potential fraud. An ACH bank reversal may occur when (1) there
are insufficient funds in Customer’s bank account, (2) there is a duplicate transaction, (3) the




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transaction is denied, (4) the type of account is incorrect, or 5) any of the return reasons as
noted in ACH Return Codes R01 – R33. Customer acknowledges that in the event of an ACH
bank reversal, Customer might incur a fee.

26. Questions; Feedback; Complaints

If Customer has any questions, would like to provide feedback, or would like more
information regarding the Services, please feel free to email Voyager
at support@investvoyager.com.

If Customer has a complaint or dispute with Voyager in connection with the Services (a
“Complaint”), Customer agrees to contact Voyager through Voyager’s support team at
support@investvoyager.com in order to attempt to resolve any such Complaint amicably.
When submitting a Complaint, please provide Voyager with your name, address, and any
other information that Voyager may need in order to identify Customer and the Account.
Voyager will acknowledge receipt of the Complaint upon receipt. Upon receipt of a
Complaint, a Voyager support member will review the Complaint based upon the
information provided in such Complaint and, if necessary, reach out to Customer via email in
order to attempt to resolve such Complaint. Customer satisfaction is a priority and while
Voyager hopes that all issues related to the Account or Service can be resolved through the
aforementioned Customer support process, if a Complaint is not resolved in a manner
satisfactory to Customer, the Customer may require that Customer and Voyager pursue any
unresolved Complaint (or portion thereof) through arbitration, consistent with the terms of
Section 26 – Arbitration Agreement below.

27. Arbitration Agreement

Voyager and Customer agree to attempt informal resolution of any Complaint arising in
connection with this Agreement, the Account, the Platform, or the Services consistent with
the procedures outlined in Section 25 – Questions; Feedback; Complaints, including
but not limited to engaging in non-lawyer mediation, prior to any demand for arbitration.

VOYAGER AND CUSTOMER FURTHER AGREE THAT IF THE PARTIES
CANNOT RESOLVE SUCH COMPLAINT INFORMALLY AND CONSISTENT
WITH THE PROCEDURES OUTLINED IN SECTION 25 – QUESTIONS;
FEEDBACK; COMPLAINTS, THE COMPLAINT SHALL BE FINALLY AND
EXCLUSIVELY RESOLVED IN BINDING ARBITRATION, ON AN INDIVIDUAL
BASIS, ADMINISTERED BY THE AMERICAN ARBITRATION ASSOCIATION
(“AAA”) AND IN ACCORDANCE WITH THE AAA’S RULES FOR ARBITRATION
OF CONSUMER-RELATED DISPUTES. VOYAGER AND CUSTOMER HEREBY
EXPRESSLY WAIVE ANY RIGHT TO GO TO COURT, TO HAVE A TRIAL BY
JURY, AND THE RIGHT TO PARTICIPATE IN A CLASS-ACTION LAWSUIT OR
CLASS-WIDE ARBITRATION. UNLESS VOYAGER AND CUSTOMER BOTH


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AGREE IN WRITING, THE ARBITRATOR MAY NOT CONSOLIDATE
PROCEEDINGS OR MORE THAN ONE CUSTOMER’S CLAIMS, AND MAY NOT
OTHERWISE PRESIDE OVER ANY FORM OF REPRESENTATIVE OR CLASS
PROCEEDING. THE ARBITRATOR SHALL ALSO HAVE EXCLUSIVE
AUTHORITY TO DECIDE ANY ISSUES RELATING TO THE MAKING,
VALIDITY, ENFORCEMENT, OR SCOPE OF THIS ARBITRATION AGREEMENT,
ARBITRABILITY, DEFENSES TO ARBITRATION INCLUDING
UNCONSCIONABILITY, OR THE VALIDITY OF THE JURY TRIAL OR CLASS
ACTION WAIVERS.

THE ARBITRATION WILL BE CONDUCTED CONFIDENTIALLY BY A SINGLE,
NEUTRAL ARBITRATOR AND WILL OCCUR ON A DOCUMENTS-ONLY BASIS
OR, IF VOYAGER OR CUSTOMER CHOOSES, OVER TELEPHONE, VIDEO, OR
IN PERSON. FOR AN IN-PERSON ARBITRATION, THE PROCEEDINGS WILL
BE IN THE CITY OR COUNTY WHERE CUSTOMER PRIMARILY RESIDES, OR
IF CUSTOMER DOES NOT RESIDE IN THE UNITED STATES, IN THE STATE OF
NEW JERSEY. CUSTOMER AGREES TO BEAR ITS OWN ATTORNEY’S FEES,
COSTS, AND EXPENSES. THE ARBITRATOR MAY AWARD ANY RELIEF THAT
A COURT OF COMPETENT JURISDICTION COULD AWARD, INCLUDING
ATTORNEYS’ FEES WHEN AUTHORIZED BY LAW, AND THE ARBITRATOR’S
DECISION MAY BE ENFORCED IN ANY COURT. ANY DISPUTE BETWEEN THE
PARTIES WILL BE GOVERNED BY THIS CUSTOMER AGREEMENT AND THE
LAWS OF THE STATE OF NEW JERSEY AND APPLICABLE UNITED STATES
LAW, WITHOUT GIVING EFFECT TO ANY CONFLICT OF LAWS PRINCIPLES
THAT MAY PROVIDE FOR THE APPLICATION OF THE LAW OF ANOTHER
JURISDICTION. VOYAGER AND CUSTOMER FURTHER AGREE THAT THE
STATE OR FEDERAL COURTS IN NEW JERSEY HAVE EXCLUSIVE
JURISDICTION OVER ANY APPEALS OF OR AN APPLICATION TO VACATE AN
ARBITRATION AWARD AND OVER ANY LAWSUIT BETWEEN THE PARTIES
NOT SUBJECT TO ARBITRATION. IN SUCH CASES, VOYAGER AND
CUSTOMER AGREE TO SUBMIT TO THE PERSONAL JURISDICTION OF THE
STATE AND FEDERAL COURTS OF NEW JERSEY AND AGREE TO WAIVE ANY
AND ALL OBJECTIONS TO THE EXERCISE OF JURISDICTION OVER THE
PARTIES BY SUCH COURTS AND TO VENUE IN SUCH COURTS.

IN THE EVENT THE PROHIBITION ON CLASS ARBITRATION OR ANY OTHER
PROVISION OF THIS SECTION IS DEEMED INVALID OR UNENFORCEABLE,
THEN CUSTOMER AGREES AND UNDERSTANDS THAT THE REMAINING
PORTIONS OF THE ARBITRATION PROVISIONS IN THIS SECTION WILL
REMAIN IN FULL FORCE AND EFFECT.

NOTWITHSTANDING VOYAGER AND CUSTOMER’S AGREEMENT TO
RESOLVE ALL DISPUTES THROUGH ARBITRATION, EITHER VOYAGER OR

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CUSTOMER MAY SEEK RELIEF IN A SMALL CLAIMS COURT FOR DISPUTES
OR CLAIMS WITHIN THE SCOPE OF THAT COURT’S JURISDICTION.

28. Telephone Conversations and Electronic Communications

Customer understands and agrees that Voyager may record and monitor any telephone or
electronic communications with the Customer. Unless otherwise agreed in writing in
advance, Voyager does not consent to the recording of telephone conversations by any third
party of the Customer. The Customer acknowledges and understands that not all telephone
or electronic communications are recorded by Voyager, and Voyager does not guarantee that
recordings of any particular telephone or electronic communications will be retained or are
capable of being retrieved.

29. Oral Authorization

Customer agrees that Voyager shall be entitled to act upon any oral instructions given by the
Customer with respect to the Account so long as Voyager reasonably believes such
instruction was actually given by the Customer or the Customer’s authorized agent.

30. Eﬀect of Attachment or Sequestration of Account

If Voyager, a service provider, or their respective officers, directors, agents, employees, and
representatives (collectively, the “Voyager Representatives”) are served with levies,
attachments, garnishments, summons, subpoenas, court orders, or other legal process which
name Customer as a debtor or otherwise, Voyager Representatives shall be entitled to rely
upon the representations, warranties, and statements made in such legal process. Customer
hereby agrees that Voyager Representatives may respond to any such legal process in their
own discretion without regard to jurisdiction or forward such legal process to any other party
as may be appropriate. Voyager Representatives shall not be liable for refusing to obey any
orders given by or for the Customer with respect to an Account that has been subject to an
attachment or sequestration in any legal proceeding against the Customer, and Voyager
Representatives shall be under no obligation to contest the validity of any such attachment or
sequestration. Customer agrees to indemnify, defend, and hold all of the Voyager
Representatives harmless from all actions, claims, liabilities, losses, costs, attorney’s fees, or
damages associated with compliance with any process that any Voyager Representative
reasonably believes in good faith to be valid.

31. Event of Death

It is agreed that in the event of the Customer’s death or the death of one of the joint Account
holders, the representative of the Customer’s estate or the survivor or survivors shall
promptly give Voyager written notice thereof, and Voyager may, before or after receiving
such notice, take such proceedings, require such papers and inheritance or estate tax waivers,
retain such portion of, or restrict transactions in the Accounts as Voyager may deem

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advisable to protect Voyager against any tax, liability, penalty or loss under any present or
future laws or otherwise. Notwithstanding the above, in the event of the Customer’s death or
the death of one of the joint Account holders, all open orders shall be canceled, but Voyager
shall not be responsible for any action taken on such orders prior to the actual receipt of
notice of death. Further, in Voyager’s discretion it may close out the Account without
awaiting the appointment of a personal representative for the Customer’s estate and without
demand upon or notice to any such personal representative. The estate of any of the Account
holders who have died shall be liable and each survivor shall continue to be liable, jointly and
severally, to Voyager for any net debit balance or loss in said Account in any way resulting
from the completion of transactions initiated prior to the receipt by Voyager of the written
notice of the death of the decedent or incurred in the liquidation of the Account or the
adjustment of the interests of the respective parties, and for all other obligations pursuant to
the Customer Agreement. Such notice shall not affect Voyager’s rights under the Customer
Agreement to take any action that Voyager could have taken if the Customer had not died.

Upon the death or incapacity of an Account owner and if the legal heirs or representatives of
such Account owner would like to withdraw the remaining balance in the Account, to the
extent there is any, such legal heirs should present to Voyager the necessary official legal
documents from the applicable authorities in the relevant jurisdiction, and Voyager, upon
checking such documents, shall allow such withdrawal in accordance with any
applicable laws.

32. Unclaimed Property

If there are funds or Cryptocurrency in an Account and Voyager is unable to contact
Customer at the address shown in Voyager’s records, and has no record of Customer’s use of
the Services for an extended period (as defined by applicable law), Voyager may be required
to report and deliver such funds or Cryptocurrency to the applicable governmental authority
as unclaimed property. Voyager reserves the right to deduct a dormancy fee or other
administrative charges from such unclaimed funds and Cryptocurrency, as permitted by
applicable law.

33. Tax Reporting; Tax Withholding

The taxation of Cryptocurrency transactions is extremely complex, and no attempt is made
herein to fully describe the various tax rules that apply to such transactions or to explain in
complete detail the rules which are mentioned. However, generally, any sales, exchanges or
dispositions of Cryptocurrency may have U.S. federal, state, local and non-U.S. income tax
consequences for the Customer and may result in the Customer having to pay additional
income taxes. Customers may have a variety of tax reporting obligations with respect to
certain Cryptocurrency. Each Customer should confer with their tax advisor regarding the tax
consequences of utilizing each of the Account based upon the Customer’s particular
circumstances. The Customer and Customer’s tax advisors are responsible for how


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Customer’s activity in the Account is reported to the Internal Revenue Service (“IRS”) or any
other taxing authority. Voyager assumes no responsibility to Customer for the tax
consequences of any transactions.

The proceeds of sale transactions and dividends paid will be reported to the IRS in
accordance with applicable law. Under penalties of perjury, the Customer certifies that the
taxpayer identification number provided or will provide to Voyager (including any taxpayer
identification number on any Form W-9 that the Customer has provided or will provide to
Voyager) is the Customer’s correct taxpayer identification number. The Customer certifies
that the Customer is not subject to backup withholding and is a United States Person
(including a U.S. resident alien) as such term is defined in section 7701(a)(30) of the Internal
Revenue Code of 1986, as amended (“U.S. Person”). If a correct Taxpayer Identification
Number is not provided to Voyager, the Customer understands the Customer may be subject
to backup withholding tax at the appropriate rate on all dividends, interest and gross
proceeds paid to the Customer. Backup withholding taxes are sent to the IRS and cannot be
refunded by Voyager. The Customer further understands that if the Customer waives tax
withholding and fails to pay sufficient estimated taxes to the IRS, the Customer may be
subject to tax penalties.

34. Miscellaneous.

(A) Interpretation. The heading of each provision of the Customer Agreement is for
descriptive purposes only and shall not be (1) deemed to modify or qualify any of the rights or
obligations set forth in the Customer Agreement or (2) used to construe or interpret any of
the provisions under the Customer Agreement. When a reference is made in this Customer
Agreement to a Section, such reference shall be to a Section of this Customer Agreement
unless otherwise indicated. Whenever the words “include,” “includes” or “including” are used
in the Customer Agreement, they shall be deemed to be followed by the words “without
limitation.” The word “or,” when used in the Customer Agreement, has the inclusive meaning
represented by the phrase “and/or.” Unless the context of the Customer Agreement
otherwise requires: (i) words using the singular or plural number also include the plural or
singular number, respectively; and (ii) the terms “hereof,” “herein,” “hereunder” and
derivative or similar words refer to the Customer Agreement in its entirety. The word “will”
expresses an obligation equivalent to “shall.” The Customer Agreement will not be construed
in favor of or against any party by reason of the extent to which any party participated in the
preparation of the Customer Agreement.

(B) Binding Effect; Assignment. This Customer Agreement shall bind Customer’s heirs,
assigns, executors, successors, conservators, and administrators. Customer may not assign
this Customer Agreement or any rights or obligations under this Customer Agreement
without first obtaining Voyager’s prior written consent. Voyager may assign, sell or transfer
the Account and this Customer Agreement, or any portion thereof, at any time, without prior
notice to Customer.

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(C) Severability. If any provisions or conditions of this Customer Agreement are or become
inconsistent with any present or future law, rule or regulation of any applicable government,
regulatory, or self-regulatory agency or body, or are deemed invalid or unenforceable by any
court of competent jurisdiction, such provisions shall be deemed rescinded or modified, to
the extent permitted by applicable law, to make this Customer Agreement in compliance with
such law, rule or regulation, or to be valid and enforceable, but in all other respects, this
Customer Agreement shall continue in full force and effect.

(D) Website Postings. Customer agrees and understands that Voyager or any of its Affiliates
may post other specific agreements, disclosures, policies, procedures, terms and conditions
that apply to Customer’s use of the App, the Website or the Account on the Website
(“Website Postings”). Customer understands that it is Customer’s continuing obligation to
understand the terms of the Website Postings, and Customer agrees to be bound by the Web
Postings as are in effect at the time of Customer’s use.

(E) Entirety of Agreement. This Customer Agreement, any attachments hereto, other
agreements and policies referred to in this Customer Agreement (including the Website
Postings), and the terms and conditions contained in Customer’s Account statements and
confirmations, contain the entire agreement between Voyager and Customer and supersedes
all prior or contemporaneous communications and proposals, whether electronic, oral or
written, between Voyager and Customer, provided, however, that any and all other
agreements between Voyager and Customer, not inconsistent with this Customer Agreement,
will remain in full force and effect.

(F) Amendment. Voyager may, at any time, amend the Customer Agreement without prior
notice to the Customer. No provision of the Customer Agreement can be amended by
Customer in any respect. The current version of the Customer Agreement will be posted on
the Website and made available through the App and Customer’s continued use of the
Platform after such amendment constitutes agreement to be bound by all then-in-effect
amendments to the Customer Agreement, regardless of whether the Customer has actually
reviewed it. Continued use of the Platform after such posting will constitute the Customer’s
acknowledgment and acceptance of such amendment. The Customer agrees to regularly
consult the App and Website for up-to-date information about the Services and any
modifications to the Customer Agreement.

(G) No Waiver; Cumulative Nature of Rights and Remedies; Non-Waiver of Rights.
Customer understands that Voyager’s failure to insist at any time upon strict compliance with
any term contained in this Customer Agreement, or any delay or failure on Voyager’s part to
exercise any power or right given to Voyager in this Customer Agreement, or a continued
course of such conduct on Voyager’s part, shall at no time operate as a waiver of such power
or right, nor shall any single or partial exercise preclude any other further exercise. All rights
and remedies given to Voyager in this Customer Agreement are cumulative and not exclusive



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of any other rights or remedies to which Voyager is entitled. This Customer Agreement shall
not be construed to waive rights that cannot be waived under applicable laws
and regulations.

(H) Relationship of the Parties. Customer agrees and understands that nothing in this
Customer Agreement shall be deemed to constitute, create, imply, give effect to, or otherwise
recognize a partnership, employment, joint venture, or formal business entity of any kind;
and the rights and obligations of the parties shall be limited to those expressly set
forth herein.

(I) No Third-Party Beneficiaries. Except for the indemnity and exculpation provisions
herein, nothing expressed in, mentioned in, or implied from this Customer Agreement is
intended or shall be construed to give any person other than the parties hereto any legal or
equitable right, remedy, or claim under or in respect to this Customer Agreement to enforce
any of its terms which might otherwise be interpreted to confer such rights to such persons,
and this Customer Agreement and all representations, warranties, covenants, conditions and
provisions hereof are intended to be and are for the exclusive benefit of the parties.

(J) Survival. All provisions of this Customer Agreement that by their nature extend beyond
the expiration or termination of this Agreement, including, without limitation, sections
pertaining to suspension or termination, debts owed, general use of the Services, disputes
with Voyager, and general provisions, shall survive the termination or expiration of
this Agreement.

(K) Written Notice. Customer agrees that if Voyager sends an email to the email address on
record for the Account, this constitutes “written notice” from Voyager to Customer. For all
notices made by email, the date of receipt is considered to be the date of transmission.

(L) Governing Law. The laws of the State of New Jersey (regardless of the choice of law rules
thereof) shall govern this Customer Agreement and all transactions in the Account.




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